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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,              Case No. MJ20-547

10          v.                                            DETENTION ORDER

11 DESMOND DAVID-PITTS,

12                                Defendant.

13          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

14 and based upon the factual findings and statement of reasons for detention hereafter set forth,

15 finds that no condition or combination of conditions which the defendant can meet will

16 reasonably assure the appearance of the defendant as required and the safety of any other person

17 and the community.

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          (1)     Defendant has been charged by complaint with arson. Defendant is viewed as a

20 risk of nonappearance based on his history of unstable residences, lack of significant ties to the

21 community, mental health history, substance abuse history, and lack of employment. Defendant

22 is viewed as a risk of danger based on the nature of the offense and criminal activity while under

23 supervision. The Court received information about defendant’s personal history, residence,



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 1 family or community ties, employment history, financial status, health, and substance use. The

 2 defendant through his attorney made argument as to release.

 3          It is therefore ORDERED:

 4          (1)     Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7            (2)   Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9          (3)     On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13          (4)     The Clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16          DATED this 1st day of September, 2020.

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18                                                         PAULA L. MCCANDLIS
                                                           United States Magistrate Judge
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